Case 2:20-cv-12880-JMV-JSA Document 41-6 Filed 12/06/20 Page 1 of 15 PageID: 580




                   EXHBIT D
Case 2:20-cv-12880-JMV-JSA Document 41-6 Filed 12/06/20 Page 2 of 15 PageID: 581




 Exhibit D                      2019 Exoo Tweets                      Page |1
Case 2:20-cv-12880-JMV-JSA Document 41-6 Filed 12/06/20 Page 3 of 15 PageID: 582




 1/ NEW JERSEY: A white supremacist group called the New
 Jersey European Heritage Association is having a noon rally
 tomorrow at Palmer Square in Princeton. Several DSA
 chapters are coordinating a counterprotest here:
  facebook.com/events/2185021 …
 https://                                     331550297/




 10:14 AM · Jan 11, 2019·Twitter Web Client




 Exhibit D                           2019 Exoo Tweets                 Page |2
Case 2:20-cv-12880-JMV-JSA Document 41-6 Filed 12/06/20 Page 4 of 15 PageID: 583




 2/ What is the New Jersey European Heritage Association?
 They're a group of white supremacists and antisemites led
 by "Titus D'Andrea," real name Dan D'Ambly of Dayton, NJ.




 Exhibit D                      2019 Exoo Tweets                      Page |3
Case 2:20-cv-12880-JMV-JSA Document 41-6 Filed 12/06/20 Page 5 of 15 PageID: 584




 3/ Back in October, I exposed Dan here:
 Quote Tweet



 AntiFash Gordon
 @AntiFashGordon
 · Oct 29, 2018
   THREAD: Left is Titus D'Andrea, leader of the New Jersey European Heritage Association,
   a white supremacist group. No one knows his real identity. Right is Dan D'Ambly, a
   newspaper printer at the @NYDailyNews in Jersey City. You see where this is going? Let's
   do this.




 Show this thread




 10:14 AM · Jan 11, 2019·Twitter Web Client




 Exhibit D                            2019 Exoo Tweets                            Page |4
Case 2:20-cv-12880-JMV-JSA Document 41-6 Filed 12/06/20 Page 6 of 15 PageID: 585




 4/ At the time, Dan was working for the
 @NYDailyNews
 as a newspaper printer in Jersey City. I still haven't heard any
 official comment from the Daily News about whether or not
 they're still employing him.
 10:14 AM · Jan 11, 2019·Twitter Web Client




 Exhibit D                           2019 Exoo Tweets                 Page |5
Case 2:20-cv-12880-JMV-JSA Document 41-6 Filed 12/06/20 Page 7 of 15 PageID: 586




 5/ The counterprotest starts at 11:30 in Palmer Square. The
 DSA's goal is to hold the space so that the Nazis can't have
 their rally.
 10:14 AM · Jan 11, 2019·Twitter Web Client




 Exhibit D                           2019 Exoo Tweets                 Page |6
Case 2:20-cv-12880-JMV-JSA Document 41-6 Filed 12/06/20 Page 8 of 15 PageID: 587




 6/ If you can, show up and show these pricks that we don't
 tolerate hate in our streets. If you can't make it, feel free to
 contact the
 @NYDailyNews
 and ask if white supremacist leader Dan D'Ambly is still
 working for their press in Jersey City.




 Exhibit D                      2019 Exoo Tweets                      Page |7
Case 2:20-cv-12880-JMV-JSA Document 41-6 Filed 12/06/20 Page 9 of 15 PageID: 588




 7/ Remember that the police won't protect us here. It's up
 to us to show Nazis that they can't organize a genocide in
 our streets. ¡No pasarán!

 10:14 AM · Jan 11, 2019·Twitter Web Client




 Exhibit D                           2019 Exoo Tweets                 Page |8
Case 2:20-cv-12880-JMV-JSA Document 41-6 Filed 12/06/20 Page 10 of 15 PageID: 589




  8/ UPDATE:
  @LivRizz
  reports that Black Lives Matter has applied for a permit to
  counterprotest:




  Counter-protesters will rally during white supremacist march in Princeton
  Princeton is preparing for a white supremacist rally and simultaneous counter protest.
  nj.com

  10:35 AM · Jan 11, 2019·Twitter Web Client




  Exhibit D                            2019 Exoo Tweets                             Page |9
Case 2:20-cv-12880-JMV-JSA Document 41-6 Filed 12/06/20 Page 11 of 15 PageID: 590




  9/ The NJEHA Twitter account is promising an "important
  announcement" tonight. Poor babies gonna cancel now that
  people are gonna come out to shut them down? I guess
  we'll find out tonight.




  11:21 AM · Jan 11, 2019·Twitter Web Client




  Exhibit D                           2019 Exoo Tweets               P a g e | 10
Case 2:20-cv-12880-JMV-JSA Document 41-6 Filed 12/06/20 Page 12 of 15 PageID: 591




  Oh, looks like Dan D’Ambly and his squad of white babies
  are pretending they were never going to do a march, lol.
  Quote Tweet



  European Heritage Association
  @EuropeanAssoc
  · Jan 11, 2019
  You’ve been punk’d




  4:12 PM · Jan 11, 2019·Twitter for iPhone


  Exhibit D                            2019 Exoo Tweets              P a g e | 11
Case 2:20-cv-12880-JMV-JSA Document 41-6 Filed 12/06/20 Page 13 of 15 PageID: 592




  AntiFash Gordon
  @AntiFashGordon

  Replying to
  @EuropeanAssoc
  Regardless, I’m gonna spend the next week wrecking your
  fucking life, Dan D’Ambly.
  4:34 PM · Jan 11, 2019·Twitter for iPhone




  Exhibit D                            2019 Exoo Tweets              P a g e | 12
Case 2:20-cv-12880-JMV-JSA Document 41-6 Filed 12/06/20 Page 14 of 15 PageID: 593




  Exhibit D                      2019 Exoo Tweets                    P a g e | 13
Case 2:20-cv-12880-JMV-JSA Document 41-6 Filed 12/06/20 Page 15 of 15 PageID: 594




  Exhibit D                      2019 Exoo Tweets                    P a g e | 14
